Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 1 of 22




                   Exhibit A

                             to

        Complaint
 for Patent Infringement

           The ’302 Patent
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 2 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 3 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 4 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 5 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 6 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 7 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 8 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 9 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 10 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 11 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 12 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 13 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 14 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 15 of 22
Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 16 of 22
         Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 17 of 22




                                       Exhibit B

                                                     to

                   Complaint
            for Patent Infringement

         Claim Chart1 for the ’302
                 Patent


1
  Plaintiff provides this exemplary claim chart for the purposes of showing one basis of infringement of one of the
Patents-in-suit by Defendant’s Accused Products as defined in the Complaint. This exemplary claim chart addresses
the Accused Products broadly based on the fact that the Accused Products infringe in the same general way.
Plaintiff reserves its right to amend and fully provide its infringement arguments and evidence thereof until its
Preliminary and Final Infringement Contentions are later produced according to the court’s scheduling order in this
case.
                                    Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 18 of 22
                                     CONFIDENTIAL ATTORNEY-CLIENT AND WORK PRODUCT PRIVILEGED

                                                                  CLAIM CHART

                                                    U.S. PATENT NO. 9392302 B2 – CLAIM 1

                Claim 1                                        Corresponding Structure in Accused Systems – NBCUniversal, Inc.
 [1a] A system for automating            NBCUniversal (“NBCU”) provides an addressable TV platform that delivers household-specific TV advertising
 compliance with local broadcasting      (based on advertiser-defined target audience); this product is known as AdSmart. See
 regulations laid down by a              https://together.nbcuni.com/advertising/oneplatform/adsmart. The NBCUniversal AdSmart platform together with
 broadcasting authority and applicable   various equipment, services, components, and/or software utilized in providing the AdSmart platform collectively
 to advertisements, said                 include a system as described by the meaning of this claim. The NBCUniversal AdSmart platform is made
 advertisements being provided           available by a system owned and/or operated by NBCUniversal.
 during time-shifted viewing/listening
 comprises:                              NBCUniversal’s AdSmart utilizes “data-driven targeting capabilities to reach the right consumers across all
                                         screens.” see https://www.nbcuniversal.com/press-release/nbcuniversal-hits-marketplace-new-one-platform-
                                         capabilities-transaction-solutions

                                         NBCUniversal, in partnership with iSpot.tv, provides advertisements and collects data during time-shifted viewing:
                                         “brands who advertise with NBCU will gain access to real-time airing data for linear, streaming and time-shifted
                                         viewing.” See https://together.nbcuni.com/insights/measurement/nbcuniversal-accelerates-path-to-alternative-
                                         currencies-bringing-forward-ispot-tv/.

                                         It is important to note that NBCUniversal specifically claims to advertise via Set Top Boxes (PVR machines):
                                         “our proprietary technology solutions… find and deliver your audience wherever they’re watching, whether it’s on
                                         national linear TV, set-top box VOD, connected TV, desktop, or mobile.” See
                                         https://together.nbcuni.com/advertising/oneplatform/adsmart/.

                                         “Because infringement liability is not dependent on ownership, e.g., use of a system can infringe (35 U.S.C. § 271),
                                         infringement is not dependent on ownership of all limitations of a claim.”




Claim Chart
’302 Patent Claim 1; NBCUniversal
                                                                                                                                                 Page 1
                                    Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 19 of 22
                                     CONFIDENTIAL ATTORNEY-CLIENT AND WORK PRODUCT PRIVILEGED

 [1b] programme supply means to          NBCUniversal provides Peacock TV as an on-demand and live TV streaming service that supplies broadcast digital
 supply broadcast digital video/audio    video programs with differing levels of access depending on the Peacock package that a user subscribes to.
 programmes having therein periodic
 breaks for the insertion of             The following exemplifies this limitation’s existence in Accused Systems:
 advertisements;




                                         Source: (https://www.peacocktv.com/plans/premium-monthly)

 [1c] advertisement supply means to      NBCUniversal’s NBCUnified program provides “targeted and personalized advertising experiences.” See
 supply advertisements within the        https://together.nbcuni.com/news/nbcuniversal-launches-nbcunified. Additionally, NBCUnified acts as a “fully
 periodic breaks, each advertisement     interoperable platform providing marketers modern-day, privacy-minded solutions to connect data spines ranging
 having associated therewith a header    from agencies . . .” (emphasis added). For each advertisement, NBCUniversal provides a header or synonymous
 comprising a first field related to a   element to be associated with each advertisement so as to identify the advertisement. The header can include a first
 local broadcasting time regulation      field relating to the above-noted FCC time regulations.
 laid down by the broadcasting
 authority, which local broadcasting     On information and belief, NBCUniversal provides customizable ads that comply with local broadcasting
 time regulation restricts the time of   regulations laid down by the broadcasting authority. For example, the Federal Communications Commission
 day at which said advertisement may     (“FCC”) regulates local broadcasting times depending on the content shown. See below.
 be shown, and a second field related
 to the number of times said
 advertisement has previously been
 shown during time-shifted viewing:
Claim Chart
’302 Patent Claim 1; NBCUniversal
                                                                                                                                                 Page 2
                                    Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 20 of 22
                                     CONFIDENTIAL ATTORNEY-CLIENT AND WORK PRODUCT PRIVILEGED




                                         Source: The Public and Broadcasting, FCC, Revised September 2021
                                         (https://www.fcc.gov/media/radio/public-and-broadcasting)

                                         On information and belief, NBCUniversal provides an element that limits the repetition of specific advertisements,
                                         necessitating inclusion of the second field as referenced in the SafeCast patent.

                                         SafeCast’s investigation is ongoing. SafeCast cannot provide complete and final its contentions as to this limitation
                                         until the claims have been construed and/or until discovery and inspection as to NBCUniversal’s source code for its
                                         system and/or technical information regarding NBCUniversal’s NBCUnified, CFlight, and/or AdSmart back-end
                                         system architecture and/or certain source code occurs.
 [1d] rules database means containing    As referenced above in limitation [1c], NBCUniversal’s system is believed to comply with local regulations.
 rules relating to said local            NBCUniversal’s NBCUnified “connect[s] data spines ranging from agencies . . .” Id. (emphasis added). This
 broadcasting time regulation;           suggests that NBCUniversal’s system includes a database means containing rules from such agencies. See also
                                         NBCUnified’s data market database, below.




Claim Chart
’302 Patent Claim 1; NBCUniversal
                                                                                                                                                  Page 3
                                    Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 21 of 22
                                     CONFIDENTIAL ATTORNEY-CLIENT AND WORK PRODUCT PRIVILEGED




                                         Source: NBCUniversal Launches NBCUnified
                                         (https://together.nbcuni.com/news/nbcuniversal-launches-nbcunified/)

                                         SafeCast’s investigation is ongoing. SafeCast cannot provide complete and final its contentions as to this limitation
                                         until the claims have been construed and/or until discovery and inspection as to NBCUniversal’s source code for its
                                         system and/or technical information regarding NBCUniversal’s NBCUnified, CFlight, and/or AdSmart back-end
                                         system architecture and/or certain source code occurs.




Claim Chart
’302 Patent Claim 1; NBCUniversal
                                                                                                                                                  Page 4
                                    Case 6:22-cv-00680-ADA Document 1-1 Filed 06/27/22 Page 22 of 22
                                     CONFIDENTIAL ATTORNEY-CLIENT AND WORK PRODUCT PRIVILEGED

 [1e] clock means to Supply a real-      On information and belief, NBCUniversal’s system includes a clock means to supply a real-time clock signal; and
 time clock signal; and control means    as referenced above in limitation [1c], is automatically configured to comply with local regulations. Thus,
 arranged to read said first field and   NBCUniversal’s system can include a control means to apply these regulations to the data from the clock means.
 said clock signal and said rules
 database and to apply said local        SafeCast’s investigation is ongoing. SafeCast cannot provide complete and final its contentions as to this limitation
 broadcasting time regulation to each    until the claims have been construed and/or until discovery and inspection as to NBCUniversal’s source code for its
 advertisement before said               system and/or technical information regarding NBCUniversal’s NBCUnified, CFlight, and/or AdSmart back-end
 advertisement is shown;                 system architecture and/or certain source code occurs.

 [1f] wherein the control means is       As referenced above in limitation [1c], NBCUniversal’s system prevents ads from being shown too frequently or
 further arranged to update the second   consecutively; it “ensures users are not bombarded with repetitive ads.” See https://together.nbcuni.com/nbcu-
 field in the header of said             creative-guidelines/peacock. Thus, NBCUniversal’s system can apply a header or synonymous element to each ad,
 advertisement when said                 and employ a control means to update the system each time an ad is shown.
 advertisement is again shown during
 time-shifted viewing.                   SafeCast’s investigation is ongoing. SafeCast cannot provide complete and final its contentions as to this limitation
                                         until the claims have been construed and/or until discovery and inspection as to NBCUniversal’s source code for its
                                         system and/or technical information regarding NBCUniversal’s NBCUnified, CFlight, and/or AdSmart back-end
                                         system architecture and/or certain source code occurs.




Claim Chart
’302 Patent Claim 1; NBCUniversal
                                                                                                                                                  Page 5
